Case 2:05-cr-20237-.]PI\/| Document 4 Filed 08/17/05 Page 1 of 2 Page|D 6

UNITED sTATEs DISTRICT coURT
Fon THE F;|_ED BY _*9§_ D.C.

WESTERN DISTRICT OF TENNEBSEE

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THOW.S M. GQUD
_ _ U,S DF??-TR%CT COUHT
cR. No. 05 20237 m O:; f §:AEWHB

UNITED sTATEs oF AMERICA )
)
vs. )
)
DONELL cAMPBELL )
)

APPLICATION ORDER and WRIT FOR H.ABEAS CORPUS AD PROSE UENDU'M

 

The United States Attorney's Offic:e applies to the Court for a Writ
to have DONNELL CAMPBELL, DOB: 05/15/80, RNI: 237615, now being detained
in the Shelby County Jail, appear before the Honorable Tu M. Pham on
Monday, August 22, 2005 @ 2:00 p.m. for Initial Appearanoe and for such
other appearances as this Court may direct.

Respectfully submitted this 16th day

 
  

 

 

E.‘Gl':e'gYGilluly, Jr.
Speoial Assistant U. S. Attorney

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Upon consideration of the foregoing Applioation, DAvID JoLLEy, U.S.
MARSHAL, WESTER.N DIs'rchT or TENNESSEE, MEHPHIS, TN., SHERIFF/WARREN, SHELBY Cotm'rY
JAIL, MEMPHIS, TN.
YOUR ARE HEREBY COMMANDED to have DON'NELL Cz`-s]>‘.[PBELLc DOB: 05[15[80l
RNI: 237615, appear before the Honorable Tu M. Pha.m on the date and time
aforementioned.

ENTERED this [é day of August, 2005.

(,…,

UNITED STATES MAGISTRATE J'UDGE

This document entered on the dccket' heat in compliance
With Fiu!e 55 and/cr 32(b) FRCrP on § 1705

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20237 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
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Honorable J on McCalla
US DISTRICT COURT

